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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
MAXWELL GOODLUCK et al.,                  )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )                      Case No. 21-cv-01530 (APM)
                                          )
JOSEPH R. BIDEN, JR. et al.,              )
                                          )
      Defendants.                         )
_________________________________________ )


                                                ORDER

         The schedule for the consolidated motions hearing on July 19, 2021, at 1:00 p.m., shall be

as follows:

   I.         Justiciability. First, the court will hear the parties’ arguments concerning mootness,

              standing, and principles of non-reviewability.

                 A.      The parties to Goh v. U.S. Dep’t of State, No. 21-cv-999, Filazapovich v. Dep’t
                         of State, No. 21-cv-943, and Goodluck v. Biden, No. 21-cv-1530 (the “DV 2021
                         Cases”) will proceed first with 30 minutes of argument on these issues.

                 B.      The parties to Gomez v. Biden, No. 20-cv-1419, Mohammed v. Blinken,
                         No. 20-cv-1856, Aker v. Biden, No. 20-cv-1926, Fonjong v. Biden,
                         No. 20-cv-2128, and Kennedy v. Biden, No. 20-cv-2639 (the “DV 2020 Cases”)
                         will then have 30 minutes of argument on these issues.

   II.        The Proper Interpretation of 8 U.S.C. § 1182(f) and Unreasonable Delay Claims. Second,

              the court will hear the parties’ arguments regarding the proper interpretation of 8 U.S.C.

              § 1182(f) and the Plaintiffs’ unreasonable delay and/or withholding claims.

                 A.      The parties to the DV 2021 Cases will proceed first with 25 minutes of argument
                         on these issues.

                 B.      The parties to the DV 2020 Cases will then have 25 minutes of argument on
                         these issues.
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   III.    Additional, Case-Specific Claims. Third, the court will hear the parties’ arguments on

           any claims that are unique to any of the consolidated cases that are not separately

           enumerated in this Order, including any additional challenges under the Administrative

           Procedure Act.

               A.      The parties to the DV 2021 Cases will proceed first with 30 minutes of
                       argument on such issues.

               B.      The parties to the DV 2020 Cases will then have 30 minutes of argument
                       on such issues.

   IV.     Relief. Finally, the court will hear the parties’ arguments on the appropriate relief to

           which Plaintiffs are entitled if the court finds in their favor.

               A.      The parties to the DV 2021 Cases will proceed first with 15 minutes of
                       argument on these issues.

               B.      The parties to the DV 2020 Cases will then have 15 minutes of argument
                       on these issues.

The court will take a brief recess between the second and third issues. The court encourages

counsel for each side to confer with one another and designate one counsel to lead argument for

each of the four topics wherever possible.




Dated: July 15, 2021                                          Amit P. Mehta
                                                       United States District Court Judge




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